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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

AbbVie Inc., et al.
                               Plaintiff,
v.                                                    Case No.: 1:21−cv−02258
                                                      Honorable John Z. Lee
Alvotech hf.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 21, 2022:


         MINUTE entry before the Honorable M. David Weisman: Having reviewed the
parties' submissions, the Court does not believe oral argument is necessary on plaintiffs'
motion to compel [[179]. Accordingly, the Court strikes the 1/24/22 hearing and will issue
a decision as soon as reasonably possible. Mailed notice (ao, )




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